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Derek Smith Law Group, PLLC
Employment Lawyers Representing Employees Exclusively

December 29, 2016

Via Fax (215) 440-2606 & First Class Mail
Equal Employment Opportunity Commission
801 Market Street, Suite 1300
Philadelphia, PA 19107-3127


                                       CHARGE
Re:    Our Client              :       TIFFANY LEE

       Nature of Complaint :           GENDER AND SEX DISCRIMINATION, SEXUAL
                                       HARASSMENT, HOSTILE WORK ENVIRONMENT,
                                       RETALIATION.

                                               -against-

                                       THE MIDDLE EAST FORUM, DANIEL PIPES and
                                       GREGG ROMAN,
                                                (RESPONDENTS).


We hereby request that this Charge be simultaneously filed with the Philadelphia Commission of
Human Relations, Pennsylvania Human Relations Commission and any other state and local
agency with whom you have a work sharing agreement as Claimant is making a claim under all
applicable rules, regulations, statutes and ordinances that apply to Claimant’s facts.


Dear Sir or Madam:

The following is a charge of discrimination and retaliation that this office is filing on behalf of
our Client, Claimant Tiffany Lee against the above Respondents.

Ms. Lee’s address and telephone number are:

       2100 Walnut Street, Apt #2C
       Philadelphia, PA 19103
       (917) 708-0349


1NYC Office: 30 Broad Street, 35th Floor, New York, NY 10004 | (212) 587-0760
Philadelphia Office: 1845 Walnut Street, Suite 1600, Philadelphia, PA 19103 | (215) 391-4790
NJ Office: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
Website: www.discriminationandsexualharassmentlawyers.com

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The name and address of the business against whom the charge is made is:

       The Middle East Forum
       1232 Winterton Street
       Pittsburgh, PA 15206
       Phone: (215) 546-5406

       Daniel Pipes
       Via his Place of Employment
       1650 Market Street, Suite 3600
       Philadelphia, PA 19103
       Phone: (215) 546-5406

       Gregg Roman
       Via his Place of Employment
       1650 Market Street, Suite 3600
       Philadelphia, PA 19103
       Phone: (215) 546-5406


The exact number of employees at the above entity is unknown, but upon information and belief,
there are well more than the statutory minimum.

A Statement of Facts is as follows: Upon information and belief, Complainant alleges as
follows:


    1. Claimant Tiffany Lee (hereinafter also referred to as Claimant and “Lee”) is an individual

       female who is a resident of the State of New York.

    2. Respondent The Middle East Forum., (hereinafter referred to as Respondent or “MEF”) is

       a domestic non-profit business duly existing under the laws of the Commonwealth of

       Pennsylvania.

    3. Respondent MEF operates out of a field office located 1650 Market Street, Suite 3600,

       Philadelphia, PA 19103 (hereinafter the “Field Office”).




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    4. At all times material Respondent Daniel Pipes (hereinafter also referred to as “Pipes is

       employed by Respondent MEF as a the “President.”

    5. At all times material, Respondent Pipes held supervisory authority over Claimant.

    6. At all times material Respondent Gregg Roman (hereinafter referred to as “Roman”) is

       employed by Respondent MEF as a the “Director.”

    7. At all times material, Respondent Roman held supervisory authority over Claimant.

    8. At all times material, Claimant was employed by Respondents.



                                      MATERIAL FACTS

    9. On or around March 15, 2016, Claimant began working as the Director of Development

       for Respondent MEF.

    10. Almost immediately, Respondent Roman began making inappropriate comments to

       Claimant.

    11. By means of example and not meant to be an exhaustive list, Respondent Roman would

       comment on Claimant’s appearance, discuss personal family details with Claimant, and

       tell her comments, such as, “You know you made my day today.”

    12. Claimant was at all times completely uncomfortable with this comments and conduct but

       Claimant feared retaliation if she reported Respondent Roman’s conduct. Furthermore, In

       or around May 2016, Respondents’ Controller/Human Resources representative resigned,

       leaving the position vacant.

    13. In or around May 2016, Respondent Roman increased his advances towards Claimant,

       asking that she join him at his home in Margate City, New Jersey for the weekend.

       Respondent Roman made it abundantly clear to Claimant that his wife and children

       would not be at the house that weekend.
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    14. At all times material, Respondent Roman would send Claimant text messages throughout

       the evening, well after the work day had ended. Furthermore, Respondent Roman would

       call Claimant during the weekend despite being well aware that Claimant was not

       working during those hours.

    15. Despite multiple requests, Claimant declined the offer.

    16. By means of example, throughout the summer and early fall of 2016, Respondent Roman

       would text and call Claimant between the hours of 6:00PM and 1:00AM, paying no

       regard to Claimant’s personal life.

    17. Respondent Roman would send Claimant pictures of his children and joke about

       Claimant marrying donors saying, “You might end up with a big divorce settlement you

       can turn into a MEF annuity” and “There are men and women who make careers out of

       this.”

    18. In or around the summer of 2016, late in the evening, Respondent Roman called Claimant

       while extremely intoxicated and began to profess his deep admiration for her. Claimant

       thanks Respondent Roman and quickly ended the conversation.

    19. On or around August 22, 2016, during a text message conversation at after 10:00PM,

       Claimant informed Respondent Roman that she was interested in another guy she had

       met the previous weekend. Claimant informed Respondent Roman of this in an effort to

       dissuade him from continuing his advances towards her.

    20. When Claimant informed Respondent Roman that the gentlemen she had met was a

       former professional football player, Respondent Roman responded, stating, “That’s cool

       – so long as he’s not an active player. That’s a fireable offense. Dating Giants or cowboys

       players.”



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    21. Respondent Roman continued to pursue Claimant, stating “Oh Tiffany, so lost and

       confused. You’ve got your flavors of the week.” Respondent Roman stated, “But when

       you think of it, you’re trying out all kinds of personalities and job and stuff, so you’ll

       known what you don’t want and then end up knowing what you do want.”

    22. When Claimant reflected on how she missed her ex-boyfriend, Respondent Roman

       replied, “Well they’re fucking idiots then, I know how to keep your attention.”

    23. The conversation then turned to Respondent Roman detailing how he was “done wing-

       manning” for a friend he was with at a bar, stating “I haven’t had this much fun texting

       since AOL.”

    24. Claimant immediately shifted the conversation back to work related discussion and

       proceeded to ask details about the agenda for the following day.

    25. At all times material, Claimant would inform Respondent Roman that she valued her job

       and the work Respondent MEF did, stating she appreciated their “work relationship.”

    26. Respondent Roman informed Claimant that no one could know about their conversations,

       stating, “My wife or your friend. Especially our Employees. They can’t know that we’re

       tight.”

    27. At all times material, Respondent Roman knew that his continued personal comments

       and conduct where not appropriate. Respondent Roman even went so far as to question

       “What are our boundaries.”

    28. Uncertain of how to respond to her supervisor, Claimant stated, “Idk what boundaries we

       should have” and again tried to refocus the conversation towards their work relationship.

    29. Respondent Roman responded “I don’t see a need for predetermined boundaries. If I get

       out of line with some stupid idea or asinine question, you’ll tell me.”



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    30. At all times throughout the course of the conversation, as a result of Respondents

       comments and tone, Claimant was concerned that should she disagree with Respondent

       or confront him, she would risk losing her job.

    31. In or around September 29, 2016, Respondent Roman asked Claimant if she would meet

       with him that Friday evening, saying the he did not want to “fuck up [her] Friday night.”

       When Claimant respectfully stated that she already had plan with her friends, Respondent

       Roman continued to harass Claimant, suggesting they meet on Saturday instead. Again,

       Claimant politely declined.

    32. On or around October 1, 2016, at approximately 12:00AM, Respondent Roman began to

       text Claimant, asking for suggestions of where to get a casual drink in New York.

       Uncomfortable by the question and fearing that he was insisting they meet, Claimant

       provided a list of locations and ended the conversation.

    33. In or around the beginning of October 2016, Claimant informed Respondent Roman that

       she needed to discuss with him his conduct and the personal comments he had made

       throughout the summer. Claimant informed Respondent Roman that she was

       uncomfortable with the comments and would like the relationship to remain strictly

       professional moving forwards.

    34. In retaliation for Claimant’s reporting of the sexual harassment, Respondent ROMAN

       proceeded to institute a campaign to terminate Claimant because of her complaints of

       sexual harassment. Respondent Roman became overly critical with Claimant, finding

       fault with her work performance every chance he could.

    35. On or around October 31, 2016, Respondents wrongfully terminated Claimant.




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   36. Respondent wrongfully and unlawfully terminated Claimant in retaliation for her complaints

       of sexual harassment and her unwillingness to engage in sexual behavior with her

       supervisor Respondent Roman.

   37. As a result of Respondents’ actions, Claimant felt extremely humiliated, degraded,

       victimized, embarrassed and emotionally distressed.

   38. As a result of the acts and conduct complained of herein, Claimant has suffered and will

       continue to suffer the loss of income, the loss of salary, bonuses, benefits and other

       compensation which such employment entails, and Claimant also suffered future

       pecuniary losses, emotional pain, humiliation, suffering, inconvenience, loss of

       enjoyment of life, and other non-pecuniary losses. Claimant has further experienced

       severe emotional and physical distress.

   39. As Respondents’ conduct has been malicious, willful, outrageous, and conducted with

       full knowledge of the law, Claimant demands Punitive Damages as against all the

       Respondents, jointly and severally.

   40. Respondents have exhibited a pattern and practice of not only discrimination but also

       retaliation.

   41. The above are just some examples, of some of the discrimination to which Respondents subjected

       Claimant.

Please contact me if you have any questions or require any additional information. Thank you for
your courtesy and cooperation in the matter.

Very truly yours,

DEREK SMITH LAW GROUP, PLLC


_________________________
Caroline H. Miller, Esq.
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